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                         IN THE UNITED STATES DISTRICT COURT

                               FOR THE DISTRICT OF OREGON




 ROBERT BAKER,

                Plaintiff,

         V.                                                           Case No. 3:18-cv-00155-MO

 GLADSTONE AUTO, LLC, dlbla                                                            JUDGMENT
 Toyota of Gladstone,

                Defendant.



MOSMAN,J.,


       Based upon the Plaintiffs Acceptance of Offer of Judgment [66], entered on December

5, 2019, it is ordered and adjudged that this case is DISMISSED with prejudice. Judgment is

entered against Defendant in the amount of $100,000, inclusive of costs, disbursements, and

attorney fees, in full s a t i ~ of Plaintiff's federal and state law claims.

       DATED this~ day of December, 2019.




1 JUDGMENT
